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11 Attorneys for Plaintiff Wisk Aero LLC

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13                              UNITED STATES DISTRICT COURT
14                             NORTHERN DISTRICT OF CALIFORNIA
15                                 SAN FRANCISCO DIVISION
16

17 WISK AERO LLC,                              CASE NO. 3:21-cv-02450-WHO

18                Plaintiff,                   DECLARATION OF YURY KAPGAN IN
19                                             SUPPORT OF WISK AERO LLC’S
           vs.                                 MOTION FOR PRELIMINARY
20                                             INJUNCTION AND EXPEDITED
     ARCHER AVIATION INC.,                     DISCOVERY
21
                  Defendant.
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                                                                 Case No. 3:21-cv-02450-WHO
                                                                       KAPGAN DECLARATION
 1          I, Yury Kapgan, declare as follows:

 2          1.      I am an attorney licensed to practice in the State of California and am admitted to

 3 practice before this Court. I am a partner with the law firm Quinn Emanuel Urquhart & Sullivan,

 4 LLP, counsel for plaintiff Wisk Aero LLC (“Wisk”). I have personal knowledge of the matters set

 5 forth in this declaration, and if called as a witness I would testify competently to those matters

 6          2.      A true and correct copy of Wisk’s Disclosure of Asserted Trade Secrets is attached

 7 as Exhibit 1 to this declaration.

 8          3.      A true and correct copy of a May 6, 2021, Morgan Stanley report entitled

 9 eVTOL/Urban Air Mobility TAM Update: A Slow Take-Off, But Sky’s the Limit, which was

10 downloaded at my direction from the Morgan Stanley Research website, is attached as Exhibit 2

11 to this declaration.

12          4.      A true and correct copy of a December 15, 2020, article entitled “Urban Air

13 Mobility Market To Be Worth USD 15.54 Billion by 2030,” which was downloaded at my

14 direction from globalnewswire.com, is attached as Exhibit 3 to this declaration.

15          5.      A true and correct copy of Archer Aviation Inc.’s December 9, 2019, Application

16 to Transact Business in Florida, which was downloaded at my direction from the website for the

17 Florida Secretary of State, is attached as Exhibit 4 to this declaration.

18          6.      A true and correct copy of Brett Adcock’s LinkedIn page, which was downloaded

19 at my direction from LinkedIn, is attached as Exhibit 5 to this declaration.

20          7.      A true and correct copy of Adam Goldstein’s biography, which was downloaded at

21 my direction from the website for the Museum of American Finance, is attached as Exhibit 6 to

22 this declaration.

23          8.      A true and correct copy of Archer Aviation Inc.’s July 2020 Statement of

24 Information, which was downloaded at my direction from the website for the California Secretary

25 of State, is attached as Exhibit 7 to this declaration. That exhibit lists Archer Aviation Inc.’s

26 principal office as 26989 Beaver Lane, Los Altos Hills, California 94022. I am informed and

27 understand that location is a residential address.

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                                                        -2-                     Case No. 3:21-cv-02450-WHO
                                                                                      KAPGAN DECLARATION
 1          9.     A true and correct copy of Archer Aviation Inc.’s April 2021 Statement of

 2 Information, which was downloaded at my direction from the website for the California Secretary

 3 of State, is attached as Exhibit 8 to this declaration. That exhibit lists Archer Aviation Inc.’s

 4 principal office as 1880 Embarcadero Road, Palo Alto, California 94303. I am informed and

 5 understand that location is a commercial address.

 6          10.    A true and correct copy of a September 14, 2020, grand jury subpoena issued to

 7 Wisk Aero LLC is attached as Exhibit 9 to this declaration.

 8          11.    A true and correct, redacted copy of the production cover letter for Wisk’s October

 9 8, 2020, document production, made in response to a grand jury subpoena, is attached as Exhibit

10 10 to this declaration.

11          12.    A true and correct, redacted copy of the production cover letter for Wisk’s

12 November 18, 2020, document production, made in response to a grand jury subpoena, is attached

13 as Exhibit 11 to this declaration.

14          13.    A true and correct, redacted copy of the production cover letter for Wisk’s

15 December 9, 2020, document production, made in response to a grand jury subpoena, is attached

16 as Exhibit 12 to this declaration.

17          14.    A true and correct copy of a February 10, 2021, press release issued by Archer

18 Aviation Inc., which was downloaded at my direction from globalnewswire.com, is attached as

19 Exhibit 13 to this declaration.

20          15.    A true and correct copy of a February 16, 2021, Bazinga Interview Transcript filed

21 with the Securities and Exchange Commission (“SEC”), which was downloaded from SEC’s

22 EDGAR platform at my direction, is attached as Exhibit 14 to this declaration.

23          16.    A true and correct copy of a March 3, 2021, Fox News Interview Transcript filed

24 with the Securities and Exchange Commission (“SEC”), which was downloaded from SEC’s

25 EDGAR platform at my direction, is attached as Exhibit 15 to this declaration.

26          17.    A true and correct copy of an April 21, 2021, article from the Silicon Valley

27 Business Journal entitled “Here's why Archer Aviation's Founders Believe It has the Right Air

28 Taxi Team,” is attached as Exhibit 16 to this declaration.

                                                      -3-                       Case No. 3:21-cv-02450-WHO
                                                                                      KAPGAN DECLARATION
 1         18.     Three true and correct screen shots of Archer Aviation Inc.’s total employee count,

 2 which I captured from LinkedIn on May 17, 2021, are attached as Exhibit 17 to this declaration.

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 4         I declare under penalty of perjury under the laws of the United States of America that the

 5 foregoing is true and correct.

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 7 DATED: May 19, 2021

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                                                By /s/ Yury Kapgan
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                                                  Yury Kapgan
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